. STATE OF TENNESSEE
IN THE gmgm;l; coUR'r onmé_ couN'rY, TENNESSEE

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RAM an E
Plainiiff($) ClVlL SUM.MONS
va. No. 2 § ZQ 6
MDM;QMIAHY_ ACTIoNZ COMPLAINT
Defendanl($]

To the above named Defendant(s): NORTH POINTE INSURANCE C()MPANY
SERVE AT: 385 Washington Street
St. Paul, Minnesota 55102

SERVE THROUGH THE COI\MSSIONER OF INSURANCE

You are hereby summoned and required to serve upon HOWARD l... UPCHURCH, Plaintiff's anomey, whose
address is P.O. BOX 381, PIKEVILLE, 'I'N 37367, an answer to the complaint which is herewith served upon you within
thirty (30) days nder service of this summons upon you, exclusive of the day of serviee, and tile a copy of the answer with this
conn within TH|RT¥ (30) days sher answer is made lfyou fail to do so, judgment by default will be taken against you for the
reiiefdemanded in the complaint

wrrNEss, {?gf§u~l'lv|"<‘# umw coun, nsuedzhis Q"" day of M ,2009 .
`M

, Clcrk

BY: mv , Depucy clerk

Receivcd this day of ,

 

,Sheriff-Deputy$heriff, Prooess Server

 

RETURN ON SERVICE OF SUMMONS
I hereby certify and remm, that on the day of , . I served this summons together with
a copy of the complaint herein as follows

 

 

, Sherifl"-DeputySherii’f1 Process Server

 

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MAY ~ 5 2009

RAMONA THOMPSON and )
CEVEL FLETCHER, ) “Em"*g}§{,'.§cwdc,m
Plaintiffs, § No. M
v. § JURY DEMAND
NORTH POINTE rNSURANCE cOMPANY, §
Defendant. §
Q_UMM_I

Come now the Plaintiffs, Ramona Thompson and Cevel Fletcher, by and
through counsel, and Would most respectiiilly show unto this Honorable Court as
follows:

I.

That the Plaintiffs, Ramona Thompson and Cevel Fietcher, are adult citizens

and residents of Rhea County, Tennessee.
II.

That the Defendant, North Pointe ]nsurance Company, is and was at all
times material hereto a foreign insurance corporation, licensed and authorized to
do business in the State of Tennessee, including in Rhea County, Tennessee.
Service of process can be obtained upon this Defendant through the Commissioner

of Insurance for the State of Tennessee.

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III.

That prior to July ll, 2008, the Det`endant, for and in consideration of
premiums paid and agreed to be paid by the Plaintiffs, issued to the Plaintiffs a
comprehensive homeowners policy of insurance identified as policy number
NPHM303 596, covering losses due to damage by fire to the Plaintiffs’ residential
dwelling located at 111 Randi Circle, Dayton, Rhea County, Tennessee. This
residence was fully furnished and contained a number of appliances, tools and
valuable personal properties as of July ll, 2008. The policy issued by the
Defendant was for the period beginning August 21, 2007 through and including
August 21, 2008, and was in full force and effect as of luly 11, 2008. The policy
provided seventy five thousand ($75,000.00) dollars coverage for the dwelling,
thirty seven thousand five hundred ($37,500.00) dollars for the contents and
personal properties, and coverage for debris removal and additional living
expenses, in the event cfa fire or destruction of the residence

IV.

That while the policy was in hill force and eti`ect on July l 1, 2008, the
Plaintiffs’ dwelling along with the contents and personal properties located therein
were destroyed by one or more fires of unknown origin. Plaintiffs gave immediate

notice of this loss to the Defendant and/or its agent, within the time required by

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the policy. Thereafter, Plaintiffs prepared an inventory of damages and a sworn
statement in proof of loss and submitted the same to the Defendant Plaintit`fs
were then required to undergo sworn examinations, and produced all documents
requested by the Defendant during these examinations or in conjunction with the
Defendant’s investigation of this loss, including financial records. Plaintiffs have
fully complied With all terms and provisions of the policy and all requests ofthe
Defendant

V.

That despite compliance with the terms and provisions of the policy and all
requests made by or on behalf of the Defendant, the Defendant has failed and
refused to pay the losses suffered by the Plaintiffs. The policy of insurance was in
full force and effect and was obligatory at the time of the loss and destruction
Plaintiffs aver that the Defendant has breached the contract of insurance with the
Plaintiffs and are obligated to pay all amounts set forth by the policy of insurance
Plaintiffs further aver that the refusal of the Defendant to pay the loss constitutes
bad faith on the part of the Defendant, thus entitling the Plaintitfs to judgment for
the twenty live (25%) percent bad faith penalty provided for pursuant to I,Q,A,_§

56-12-19§, in addition to the amounts set forth in the policy.

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PREMISES CONSIDERED, PLAINTIFFS PRAY:

1. That proper process issue and be served upon the Defendant through
the Connnissioner of lnsurance for the State of Tennessee, requiring the Defendant
to appear and answer hereto, but not under oath, its oath being hereby expressly
waived.

2. That upon a hearing of this cause, the Plaintiffs have judgment
against the Defendant for the full amounts and value of the coverage set forth in
the subject policy of insurance, plus statutory pre-judgment interest

3. That upon a hearing of this cause, the Plaintiffs have judgment
against the Defendant for additional living expenses incurred by the Plaintiff
following the fire and destruction of this residence, and for debris removal
expenses, all as provided by the policy of insurance, plus statutory pre-judgment
interest

4. That upon a hearing of this cause, the Plaintiffs have judgment
against the Defendant in the additional amount of thirty thousand ($3 0,000.00)

dollars, representing the twenty live (25%) percent bad faith penalty provided for

pursuant to l.Q.A. § 56-Z-105.

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5. That upon a hearing of this cause, the Defenth be required to pay
all costs and expenses incurred by the Plaintiffs in conjunction with the filing and
prosecution of this action, including reasonable attorney’s fees.

6. That ajury of twelve persons be impaneled to try ali issues when
joined.

7 . For general relief.

M

ARD L. UPCHURCH
Attorney for Ramona Thompson and
Cevel Fletcher
P.O. Box 381
Pikeville, 'I`ennessee 37367
Telephone: (423) 447-2903
BPR # 10 145

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QLSI_BQED

I am surety for the non-discretionary costs of this cause.

stamp L. uPCHURcH

Attomey for Ramona Thompson and
Cevel Fletcher

P.O. Box 381

Pikeville, Tennessee 37367

Telephone: (423) 447-2903
BPR # 10145

Case 1:O9-cv-00156-WBC Document 1-1 Filed O6/O9/O9 Page 7 of 9 Page|D #: 10

 

MAY - 6 2009

 

RAMONA THOMPSON and ) A/__’
clean FLETCHER, § “E°‘"“é?,§ii?mmm
Plaintiffs, ) NO- M
v_ g IURY DEMAND
NORTH POINTE INSURANCE COMPANY, §
Defendant §
AFF E

Comes now the Afiiant, Howard L. Upchurch, and after first being duly
sworn, deposes and says that the address for service of process upon the
Defendant, North Pointe Insurance Company, is as follows:

North Pointe Insurance Company

385 Washington Street
St. Paul, Minnesota 55102

///2/»-~#
//.

/
/ AFFIANT

 

Sworn to and subscribed before me

this Ce day of t._)mj , 2009 l
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STATE OF TENNESSEE
DEPARTMENT OF COMMERCE AND INSURANCE
500 JAMES ROBERTSON PARKWAY

NASHVILLE, TN 37243~1131
May 14, 2009
North Pointe tnsurance Company CERT|F|ED MA|L
P O on 2223 RETURN RECEIPT REQUESTED
Southfield. Ml 48037 7008 3230 0002 4320 8912
NA|C # 27740 ' Cashier # 3074

Re: Ramona Thompson & Cevet F|etcher V_ North Pointe insurance Company

Docket # 26766

To Whom lt N'|ay Concern:

We are enclosing herewith a document that has been served on this department on your behalf in connection with
the above-styled matter.

l hereby make oath that the attached Breach Of Contract Comp|aintwas served on me on May i‘i. 2009 by
Ramona Thompson & Cevel F|etcher pursuant to Tenn. Code Ann. § 56-2-504 or § 56-2-506. A copy of this
document is being sent to the Circuit Court of Rhea County, TN,

Brenda C. Meade
Designated Agent
Service of Process

Enc|osures

cc; Circuit Court C|erk aug
Rhea County 2
1475 Marketstreei, Rm104 MP\Y 2 2
Dayton, Tn 37321 9

Service of Process 615.532.5260

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